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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


UNITED STATES OF AMERICA,                 §
                                          §
                                          §    CRIMINAL ACTION NO. H-04-0025
v.                                        §
                                          §
KENNETH L. LAY,                           §
                                          §
                   Defendant.             §



                            MEMORANDUM OPINION AND ORDER

           On May 25, 2006, following a sixteen week jury trial and a

separate one week bench trial, Kenneth L. Lay was found guilty of

all ten counts charged against him in the Second Superseding

Indictment: conspiracy to commit securities and wire fraud (count

1),    wire    fraud    involving     false    and   misleading    statements   in

employee      meetings      (counts   12-13),    securities    fraud   involving

presentations          to    securities       analysts   and      rating   agency

representatives (counts 27-29),1 bank fraud (count 38), and making

false statements to banks (counts 39-41).2                On July 5, 2006, Lay

suffered a heart attack and died. Pending before the court are the

Motion of the Estate of Kenneth L. Lay to Vacate His Conviction and

Dismiss the Indictment (Docket Entry No. 1082), and the motion of

alleged crime victim Russell L. Butler for an order of restitution


       1
        Jury Verdict, Docket Entry No. 1015.
       2
        Memorandum of Decision and Verdict, Docket Entry No. 1019.

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contained in Crime Victim’s Motion Opposing Motion of the Estate of

Lay to Vacate His Conviction and Dismiss the Indictment (Docket

Entry No. 1091).         For the reasons explained below, the estate’s

motion to vacate and dismiss will be granted, and Butler’s motion

for an order of restitution will be denied.



                     I. Motion to Vacate and Dismiss

          Citing United States v. Estate of Parsons, 367 F.3d 409 (5th

Cir. 2004)(en banc), the estate argues that Lay’s conviction should

be vacated and that the indictment as it relates to Lay should be

dismissed because Lay’s death deprived him of his right to pursue

a planned appeal.        The estate asserts that Lay engaged counsel to

file and prosecute an appeal, that on the morning of July 5, 2006,

Lay was pronounced dead in Aspen, Colorado, and that by Order of

the   Probate    Court    No.   1   of   Harris   County,   Texas,   in   Cause

No. 365,466 entered on August 8, 2006, Letters Testamentary were

issued to Linda P. Lay as Executrix of the Last Will and Testament

of Kenneth L. Lay.3         In an unopposed motion filed on August 9,

2006, (Docket Entry No. 1079), the executrix sought leave to

substitute the estate for Lay in this action so that the estate

could file and prosecute the pending motion to vacate and dismiss.


      3
      See Certified copy of the Order Probating Will and
Authorizing Letters Testamentary and an original Letters
Testamentary in re: Estate of Kenneth Lee Lay, Deceased, attached
to Unopposed Motion for Substitution of the Estate of Kenneth L.
Lay for Defendant Kenneth L. Lay, Docket Entry No. 1079.

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On August 10, 2006, the court granted the motion to substitute

(Docket Entry No. 1081).            The estate argues that the doctrine of

abatement ab initio applied in Parsons, 367 F.3d at 409, requires

the court to grant the pending motion to vacate and dismiss.4



              II. Opposition to Motion to Vacate and Dismiss

A.         United States’ Opposition

           Without    disputing    the   estate’s    argument    that   Parsons,

367 F.3d at 409, requires abatement ab initio of this action

against Lay, “[t]he United States opposes [the pending motion to

vacate and dismiss] on grounds that the Lay Estate should not be

unjustly enriched with the proceeds of fraud that would otherwise

be subject to forfeiture and distribution to Lay’s victims.”5

Asserting that “the verdicts established Lay’s fraud as charged in

the indictment beyond a reasonable doubt,”6 and that the guilty

verdicts returned against him provide a “basis for the likely

disgorgement         of   fraud   proceeds    totaling   tens   of   millions   of

dollars,”7 the United States “requests that the Court defer ruling



       4
      Motion of the Estate of Kenneth L. Lay to Vacate His
Conviction and Dismiss the Indictment, Docket Entry No. 1082, p. 3.
       5
      United States’ Opposition to the Motion of the Estate of Lay
to Vacate His Conviction and Dismiss the Indictment, Docket Entry
No. 1089, p. 2.
       6
        Id. at p. 1.
       7
        Id.

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on    the     motion     filed    by   the   Lay    Estate      until    the    previously

scheduled date of sentencing, October 23, 2006.”8                               The United

States explains that by deferring its ruling the court will allow

Congress          “a   reasonable      opportunity       to    address   the     issue   of

abatement through a legislative proposal that has recently been

presented.”9



B.         Crime Victim’s Opposition

           Russell P. Butler, an individual who asserts that he is a

victim of the crimes for which Lay was found guilty, moves the

“Court to order restitution based on the conviction of Defendant

Lay . . . pursuant to 18 U.S.C. § 3771(6) and (8) as well as

Mandatory          Victims       Restitution       Act    of     1996,     PL     104-132,

1996 S. 735.”10          Butler argues that the estate’s motion to vacate

and dismiss should be denied because “such an order would violate

the Crime Victim’s due process right to statutorily authorized

restitution.”11 Asserting that the CVRA “codifies several statutory

rights implicated by the Lay Estate’s motion including the right to

fairness; the right to notice; the right to be present; the right


       8
        Id. at p. 2.
       9
        Id.
       10
      Crime Victim’s Motion Opposing Motion of the Estate of Lay
to Vacate His Conviction and Dismiss the Indictment, Docket Entry
No. 1091, p. 1.
       11
            Id.

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to be heard as well as the right to full and timely restitution,”12

Butler argues that

        enactment of the CVRA transforms the Lay Estate’s
        seemingly routine abatement motion into a case of first
        impression [because] . . . if granted, [it] will leave
        Mr. Butler—and thousands of additional crime victims —
        . . . stripped of their statutory right to restitution
        for the crimes committed by Kenneth L. Lay.13

Citing the dissent in Parsons, 367 F.3d at 421-422, Butler argues

that these statutes “mandate restitution for designated crimes,”14

and create “a property interest that is improperly erased if

restitution is abated.”15



                                III. Analysis

A.      Controlling Authority

        In Durham v. United States, 91 S. Ct. 858, 860 (1971) (per

curiam), the Supreme Court adopted the so-called “abatement rule,”

holding that “death pending direct review of a criminal conviction

abates not only the appeal but also all proceedings had in the

prosecution from its inception.”           See also Parsons, 367 F.3d 409;

United States v. Pauline, 625 F.2d 684, 685 (5th Cir. 1980).              Five

years later in Dove v. United States, 96 S. Ct. 579 (1976) (per



       12
            Id. at p. 3.
       13
            Id. at p. 4.
       14
            Id. at p. 7.
       15
            Id.

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curiam), the Supreme Court overruled Durham in an opinion that the

Fifth Circuit has described as “42 cryptic, enigmatic words.”

Pauline, 625 F.2d at 685.             The Dove decision simply states that

           [t]he Court is advised that the petitioner died at New
           Bern, N.C., on November 4, 1975.     The petition for
           certiorari is therefore dismissed. To the extent that
           Durham v. United States, 401 U.S. 481, 91 S. Ct. 858,
           28 L. Ed.2d 200 (1971), may be inconsistent with this
           ruling, Durham is overruled.

96    S.    Ct.   at   579.     Reasoning      that   “[t]here   are    substantial

differences between appeals of right and petitions for certiorari,”

the Fifth Circuit joined other courts of appeals in concluding that

Dove applies only to petitions for certiorari, not to appeals of

right. Pauline, 625 F.2d at 685.               See also United States v. Asset,

990 F.2d 208, 210 (5th Cir. 1993), abrogated on other grounds by

Parsons, 367 F.3d at 409 (“It is well established in this circuit

that the death of a criminal defendant pending an appeal of his or

her case abates, ab initio, the entire criminal proceeding.”);

United States v. Schuster, 778 F.2d 1132, 1133 (5th Cir. 1985)

(“Under the firmly established rule in this circuit, the death of

a defendant pending conclusion of the direct criminal appeal

abates, ab initio, not only the appeal, but the entire criminal

proceeding.”).

           Nevertheless,      prior   to   issuing    its   en   banc   opinion   in

Parsons, 367 F.3d at 409, the Fifth Circuit did not apply the

doctrine of abatement ab initio to orders for restitution or

forfeiture without first looking to the purpose for which such an

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order had been issued.       See Parsons, 367 F.3d at 413.           Orders

intended to punish the defendant were considered penal and abated

with the rest of the conviction while orders intended to make a

defendant’s victims whole were considered compensatory and survived

the defendant’s death.        Id. (citing United States v. Mmahat,

106 F.3d 89, 93 (5th Cir.), cert. denied, 118 S. Ct. 200 (1997).

In Parsons the Fifth Circuit examined the principles behind that

doctrine of abatement ab initio and concluded that

      [t]wo primary approaches support abatement ab initio.
      The finality principle reasons that the state should
      not label one as guilty until he has exhausted his
      opportunity to appeal.      The punishment principle
      asserts that the state should not punish a dead person
      or his estate. Although the finality principle best
      explains why criminal proceedings abate at death,
      finality does not justify the distinction between
      compensatory and penal restitution orders.

Id.

      The Fifth Circuit explained that

      [u]nder the finality rationale, we have described the
      entitlement to one appeal as follows:

      [W]hen an appeal has been taken from a criminal
      conviction to the court of appeals and death has
      deprived the accused of his right to our decision, the
      interests of justice ordinarily require that he not
      stand convicted without resolution of the merits of his
      appeal, which is an “integral part of [our] system for
      finally adjudicating [his] guilt or innocence.”

      United States v. Pauline, 625 F.2d 684, 685 (5th
      Cir.1980) (emphasis added, brackets in original)
      (quoting Griffin v. Illinois, 351 U.S. 12, 18,
      76 S. Ct. 585, 100 L. Ed. 891 (1956)).




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Id. at 413-414 & n.8 (citing Rosanna Cavallaro, “Better Off Dead:

Abatement,   Innocence,     and   the   Evolving    Right    of   Appeal,”

73 U. Colo. L. Rev. 943, 954 (2002) (“The abatement remedy relies

significantly on a larger premise: a conviction that cannot be

tested by appellate review is both unreliable and illegitimate; the

constitutionally guaranteed trial right must include some form of

appellate review.”).    The Fifth Circuit also explained that

       [t]he second rationale focuses on the precept that the
       criminal justice system exists primarily to punish and
       cannot effectively punish one who has died. “[T]he
       purposes of criminal proceedings are primarily
       penal—the indictment, conviction and sentence are
       charges against and punishment of the defendant—such
       that the death of the defendant eliminates that
       purpose.”

Id. at 414 & n.10 (quoting Asset, 990 F.2d at 211).               See also

Mmahat, 106 F.3d at 93 (stating “the abatement principle is

premised on the fact that criminal proceedings are penal.”).            The

Fifth Circuit concluded that “regardless of its purpose, the order

of restitution cannot stand in the wake of Parsons’s death.

Because he now is deemed never to have been convicted or even

charged, the order of restitution abates ab initio.”           Id. at 415.

In reaching this decision the Fifth Circuit acknowledged that the

government could argue “that this approach harms the interests of

those allegedly injured,” id., but concluded that “such an argument

cannot outweigh the finality rationale.” Id.          The court explained

that



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      [a]ny references to the wrongful nature of the
      defendant and his actions are conditioned on an
      appellate court’s upholding the conviction, assuming
      the defendant pursues an appeal. . . . The abatement
      doctrine provides that one should not be permanently
      labeled as finally “convicted” while his first appeal
      is pending. That is to say, in abatement the criminal
      court essentially abdicates its power over the former
      defendant.

Id. at 415-416.

      The Fifth Circuit also explained that a different conclusion

would run contrary to the text of both the Victim and Witness

Protection Act (VWPA), 18 U.S.C. § 3663(a)(1)(A), id. at 416, and

the   Mandatory    Victim    Restitution     Act    (MVRA),    18    U.S.C.

§ 3663A(a)(1).    Id. at 417 & n.20.

      The VWPA allows a court to enter a restitution order
      when “sentencing a defendant convicted of an offense.”
      18 U.S.C. § 3663(a)(1)(A) (emphasis added).    If death
      terminates the criminal case ab initio, the defendant
      no longer stands convicted. One might respond to this
      natural reading by arguing that “convicted of an
      offense” has force only on the day on which the
      restitution order is entered.    Because the defendant
      stands convicted on the day the court enters the order,
      retaining the order after the defendant's death would
      not conflict with the VWPA.

      Additional text of the VWPA, however, suggests that
      “convicted” should not have force merely at the time of
      the restitution order.     Section 3663(d) references
      18 U.S.C. § 3664 as the enforcement mechanism for
      reimbursement orders. Section 3664(l) describes the
      effect of a conviction on future civil actions: “A
      conviction of a defendant for an offense involving the
      act giving rise to an order of restitution shall estop
      the defendant from denying the essential allegations of
      that offense in any subsequent Federal civil proceeding
      or State civil proceeding.”

           A standard canon of construction “provides that
      a word used in different parts of the statute should be

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         construed to have the identical meaning throughout the
         entire statute.”    If the narrower construction of
         “convicted” is applied to § 3664(l ), an estate would
         be estopped from denying important factual matters in
         a subsequent civil suit, even if the underlying
         conviction had been abated.         Just as a trial
         conviction, after abatement, should not estop an estate
         from mounting a defense in civil court, one whose
         conviction is abated no longer stands “convicted” for
         purposes of the VWPA.

Id. at 416-417 & n.19.           In response to the dissenting judges'

discussion of the Mandatory Victim Restitution Act (MVRA), the

Fifth Circuit majority observed that “[e]ven if we consider the

MVRA,     however,   it   references    the   same   enforcement   provision—

18 U.S.C. § 3664—as does the VWPA. Consequently, using the MVRA as

a means of keeping the compensatory-penal dichotomy fails, for the

reasons we have discussed.”         Id. at 417 & n.20.



B.       Application of the Law to the Facts

         Lay died before sentencing, before a final judgment could be

entered, and before a notice of appeal could be filed.             Therefore,

unlike the defendants in Parsons, 367 F.3d at 409, and Pauline,

625 F.2d at 684, Lay did not die pending appeal. Nevertheless, the

Fifth Circuit has plainly stated that “the rule of abatement

applies equally to cases in which a defendant, such as [Lay], dies

prior to the entry of judgment.”            Asset, 990 F.2d at 211 (citing

United States v. Oberlin, 718 F.2d 894, 896 (9th Cir. 1983)).




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      1.     United States’ Opposition

      The United States’ opposition is grounded on the principle

that the Lay estate should not be unjustly enriched with the

proceeds of fraud that would otherwise be subject to forfeiture and

distribution to victims of the crimes for which Lay was found

guilty.    However, in Parsons the Fifth Circuit considered and

rejected this concern by explaining that abatement of the criminal

proceeding

      does not necessarily mean that an individual who
      suffered a loss cannot obtain reimbursement in civil
      court.   If he can meet the civil court’s lower burden
      of proof, he may receive a judgment from that court.
      The criminal court that entered the prior reimbursement
      order, however, should not retain any power over that
      prior defendant.

      One may argue that allowing the estate to substitute
      for the dead defendant ensures the fair representation
      of the decedent’s interests, but such a substitution
      does not align logically with the abatement of all
      prior    criminal    proceedings.   Essentially,    the
      substitution doctrine forces the estate to argue about
      a conviction that no longer exists and requires a court
      to adjudicate the merits of a proceeding that no longer
      took place.     Although it is not without a cost,
      requiring victims to argue their case in civil court
      protects the interests of defendants whose direct
      appeals are not yet final.

367 F.3d at 416 n.17.        Although the United States argues that

applicable law might change at some unknown future date, the court

is bound to follow Fifth Circuit precedent.




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        2.   Butler’s Opposition

        Butler’s opposition is grounded on the principle that the

VWPA, 18 U.S.C. § 3663,      and the MVRA, 18 U.S.C. § 3663A, require

the court to order restitution.          However, in Parsons the Fifth

Circuit considered and rejected a similar argument by explaining

that these statutes allow a court to enter a restitution order when

“sentencing a defendant convicted of an offense,” 367 F.3d at 416,

but that “[i]f death terminates the criminal case ab initio, the

defendant no longer stands convicted.”        Id.     Moreover, the facts

of this case provide an additional reason for rejecting Butler’s

argument.    Both statutes allow a district court to enter an order

of restitution only “when sentencing a defendant . . .”           18 U.S.C.

§ 3663(a)(1) and 18 U.S.C. § 3663A(a)(1).           Since Lay died before

sentencing, and since neither statute allows the court to enter an

order of restitution against Lay’s estate, the court concludes that

Butler has failed to cite any legal authority that would allow

entry of the order of restitution that he seeks.         Accordingly, the

court    concludes   that    Butler’s    motion   seeking   an   order       of

restitution must be denied.



                       IV.   Conclusion and Order

        Since the Fifth Circuit Court of Appeals has adopted the

abatement rule, and since neither the United States nor Butler has

raised any legal basis for denying the rule’s application in this


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case, the court concludes that Lay’s conviction must be vacated and

that this action against him must be dismissed.               Accordingly, the

Motion of the Estate of Kenneth L. Lay to Vacate His Conviction and

Dismiss the Indictment (Docket Entry No. 1082) is GRANTED, and the

motion of alleged crime victim Russell L. Butler for an order of

restitution contained in the instrument titled Crime Victim’s

Motion    Opposing   Motion   of   the    Estate   of   Lay    to   Vacate   His

Conviction and Dismiss the Indictment (Docket Entry No. 1091) is

DENIED. The indictment against Kenneth L. Lay is DISMISSED.

         SIGNED at Houston, Texas, this 17th day of October, 2006.




                                                      SIM LAKE
                                            UNITED STATES DISTRICT JUDGE




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